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 8                   United States District Court
 9                   Central District of California
10                        Western Division
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12    Stephanie Escobar,                                 CV 17-01826 TJH(PJW)
13                        Plaintiff,
14          v.
                                                                  Order
15    Just Born, Inc.,                                              [53]
16                        Defendant.
17

18         The Court has considered Plaintiff Stephanie Escobar’s Motion for Class
19   Certification, together with the moving and opposing papers.
20         In 2016, Escobar purchased one 5-oz. box of Mike & Ike candy during a visit to
21   a Cinemark Cinemas movie theater in Los Angeles. The candy was in a glass showcase
22   behind the concession counter. Escobar paid approximately $4.00 for the candy. After
23   she got to her seat in the theater, Escobar discovered that the box was roughly half full.
24         On February 6, 2017, Escobar filed this putative class action in Los Angeles
25   County Superior Court against Just Born, Inc. [“Just Born”], the manufacturer of the
26   Mike & Ike’s and Hot Tamales candy products, on behalf of herself and all individuals
27   who purchased 5-oz. boxes of Mike and Ikes and Hot Tamales in California for
28   personal consumption between February 3, 2013, and the present. On March 7, 2017,

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 1   Just Born removed.
 2         Escobar alleged that 46% of the Mike & Ike box was empty, and that there was
 3   no functional or lawful purpose for the empty space. The empty space is usually
 4   referred to as “non-functional slack fill.” Escobar alleged that the 46% non-functional
 5   slack-fill violated: (1) the California Consumers Legal Remedies Act, Civil Code §
 6   1750, et. seq. [“CRLA”]; (2) the California False Advertising Law, Cal. Bus. & Prof.
 7   Code § 17500, et. seq. [“FAL”]; and (3) the California Unfair Competition Law, Cal.
 8   Bus. & Prof. Code § 17200, et. seq. [“UCL”].
 9         Escobar, now, moves for certification of the class and the appointment of class
10   counsel. And, Just Born moves to exclude the opinions of Escobar’s proposed experts.
11

12   Motions to Exclude
13         Just Born’s motion to exclude the expert opinions challenges the relevance, and,
14   therefore, the admissibility of the expert opinions. However, the Court is not required
15   to exclude, at this juncture, the expert opinions based on evidentiary objections. Sali v.
16   Corona Reginal Medical Center, 889 F.3d 623, 634 (9th Cir. 2018). Rather, the
17   objections more appropriately go to weight, and not the admissibility, of the opinions.
18   Sali. Thus, the expert opinions will not be excluded.
19

20   Class Action Certification
21         Escobar seeks to certify a class of all individuals that purchased Mike and Ikes
22   or Hot Tamales in California between February 6, 2013, to present, alleging that the
23   non-functional slack-fill in the two products misrepresented the amount of actual candies
24   in the boxes and, thereby, misled consumers in violation of CLRA, FAL, and UCL.
25          To certify a class, Escobar bears the burden of establishing that the putative class
26   satisfies all four threshold prerequisites of Fed. R. Civ. P. 23(a): (1) Numerosity of
27   proposed class members; (2) Commonality of issues of fact and law; (3) Typicality of
28   the named representative’s claims; and (4) Adequacy of the named representative and

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 1   class counsel to fairly and adequately pursue the action. See Sueoka v. United States,
 2   101 F. App’x. 649, 652 (9th Cir. 2004).
 3         Escobar, also, bears the burden of establishing at least one of the requirements
 4   of Fed. R. Civ. P. 23(b). Here, Escobar attempts to certify the class under either Fed.
 5   R. Civ. P. 23(b)(2) – that Just Born acted in a manner applicable to the class generally,
 6   thereby making injunctive or declaratory relief appropriate with respect to the class as
 7   a whole – or Fed. R. Civ. P. (b)(3) – that common questions of law or fact predominate
 8   over individualized issues, making class adjudication the superior method of
 9   adjudicating the controversy.
10         Notably, whether the class could actually prevail on the merits of its claims is not
11   a proper inquiry in determining whether the class should be certified. See Stockwell v.
12   City and Cty. Of S.F., 749 F.3d 1107, 1111-1112 (9th Cir. 2014).
13         In Bradach v. Pharmavite, LLC, 735 F. App’x. 251 (9th Cir. 2018), the Ninth
14   Circuit held that the numerosity, commonality, predominance, and superiority elements
15   of Rule 23 are satisfied in certain consumer protection class actions, including those
16   asserting CLRA and UCL claims, because the issue is “whether members of the public
17   are likely to be deceived.” 735 F. App’x. at 254. The Ninth Circuit noted that CLRA
18   and UCL claims are “ideal for class certification because they will not require the court
19   to investigate class members’ individual interaction with the product.” Bradach, 735
20   F. App’x. at 254-255. Based on Bradach, Escobar has established the numerosity and
21   commonality prerequisites of Fed. R. Civ. P. 23(a), and that class issue predominate
22   over individual issues under Fed. R. Civ. P. 23(b)(3).
23         Further, typicality is established, here, because Escobar purchased at least one
24   box of either Mike and Ikes or Hot Tamales; her claims are reasonably coextensive with
25   those of the absent class members. See Hanlon v. Chrysler Corp., 150 F. 3d 1011,
26   1020 (9th Cir. 1998).
27         Finally, the adequacy prerequisite is satisfied because, inter alia, Escobar’s claim
28   is typical. There were no arguments that the proposed class counsel is inadequate.

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 1        Accordingly,
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 3        It is Ordered that the motion for class certification be, and hereby is,
 4   Granted.
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 7   Date: March 25, 2019
 8                                        __________________________________
 9                                               Terry J. Hatter, Jr.
10
                                          Senior United States District Judge

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                                                                Order – Page 4 of 4
